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                            UNITED STATES DISTRICT COURT
                                   District of Minnesota
                               Criminal No. 04-455(5) (MJD)

UNITED STATES OF AMERICA,                          )
                                                   )
                      Plaintiff,                   )
                                                   )
              v.                                   )      ORDER GRANTING EXTENSION
                                                   )      OF VOLUNTARY SURRENDER
ROBERT RYAN COLE,                                  )      DATE
                                                   )
                      Defendant.                   )


       The defendant Robert Cole, through his attorney Andrea K. George, has move this

Court for an extension of his voluntary surrender date currently set for Friday, May 12, 2006

by two weeks, until May 26, 2006. Based on good cause shown, it is hereby ordered that

Robert Cole shall report to the facility of designation by 2:00 p.m. on Friday, May 26, 2006.


Dated: May 8, 2006                                 s / Michael J. Davis
                                            HONORABLE MICHAEL J. DAVIS
                                            United States District Court Judge
